       IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON

 STATE OF WASHINGTON,
                                            No. 79806-5-I
                      Respondent,           (consolidated w/80148-1-I)

               v.                           DIVISION ONE

 JAMES DAVID GRIEPSMA, JR.,                 UNPUBLISHED OPINION

                      Appellant.


 In the Matter of the Postsentence
 Review of

 JAMES DAVID GRIEPSMA, JR.,

                      Respondent.


       SMITH, J. — A jury found James Griepsma Jr. guilty of six counts of third

degree assault and one count of third degree malicious mischief. Griepsma

appeals, contending that the court allowed jurors with actual bias to sit on the

jury, that the State failed to prove several of the assault charges, that the State

was required to charge him under a more specific statute, and that the State

failed to prove his criminal history. The Department of Corrections (DOC) filed a

postsentence petition, alleging that the court erred by not ordering community

custody. We conclude that the State properly charged and proved third degree

assault and that Griepsma has failed to establish juror bias. Therefore, we affirm

his convictions. However, we agree that the State failed to prove Griepsma’s


 Citations and pin cites are based on the Westlaw online version of the cited material.
No. 79806-5-I/2


criminal history and that the court was required to impose community custody,

and we therefore remand for resentencing.

                                      FACTS

       In February 2018, after a bus driver asked Griepsma to get off a bus and

Griepsma refused, Griepsma got into a conflict with Skagit Transit employees at

a transit station in Mount Vernon. Police officers arrived, and in the subsequent

interaction, Griepsma punched the officers, resulting in charges for assault and

resisting arrest. While in the Skagit County Jail, Griepsma twice spit on a

corrections officer and, in one incident, swung a door at one corrections officer

and pushed a different officer’s head to the floor, leading to a concussion. The

State added several additional third degree assault charges for these incidents

on the basis that Griepsma had assaulted “a law enforcement officer or other

employee of a law enforcement agency.” The State also charged Griepsma with

two counts of second degree assault, one against an arresting officer and one

against a corrections officer. Finally, the State dismissed the resisting arrest

charge and added a charge for third degree malicious mischief.

       At trial, Griepsma represented himself. The jury found him guilty of

malicious mischief and all but one of the third degree assault charges. The jury

left the verdict form blank for the other third degree assault charge and the two

second degree assault charges. The court determined that there was a mistrial

as to those three charges and dismissed them without prejudice.

       At sentencing, the State alleged that Griepsma’s sentencing score was 9+,

and it recommended the maximum sentence of 60 months under the standard




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No. 79806-5-I/3


range. The court ordered a midrange sentence of 55 months for each of the

assault charges, to be served concurrently, and it did not order community

custody. Griepsma appeals.

                                      ANALYSIS

       Griepsma contends that biased jurors sat on the jury, that the State

erroneously charged and failed to prove several counts of assault, and that the

State failed to prove Griepsma’s criminal history. DOC challenges the court’s

failure to impose community custody. Finally, Griepsma raises several additional

issues in a statement of additional grounds for review (SAG). 1

                                      Juror Bias

       Griepsma first contends that the court allowed jurors with actual bias to

serve on the jury and that therefore he is entitled to a new trial. We disagree.

       An appellant may raise the issue of juror bias for the first time on appeal,

and if a juror exhibited actual bias, the appellant is entitled to a new trial. State v.

Irby, 187 Wn. App. 183, 192-93, 347 P.3d 1103 (2015). “The trial judge is in the

best position to evaluate whether a particular potential juror is able to be fair and



       1 Griepsma also contends that the court erred by dismissing the second
degree assault charges without prejudice instead of with prejudice. If “(1) the
State charges a person with greater and lesser offenses and the jury is unable to
agree regarding the greater offense but finds the defendant guilty of the lesser
offense and (2) the defendant’s conviction for the lesser offense is reversed on
appeal,” then recharging the greater offense does not violate double jeopardy.
State v. Glasmann, 183 Wn.2d 117, 119, 349 P.3d 829 (2015). However, if the
conviction for the lesser offense “‘is not overturned on appeal, the conviction,
once final, terminates jeopardy.’” State v. Ervin, 158 Wn.2d 746, 758, 147 P.3d
567 (2006) (emphasis omitted) (quoting State v. Linton, 156 Wn.2d 777, 792, 132
P.3d 127 (2006) (Sanders, J., concurring)). Because we affirm Griepsma’s
convictions for third degree assault, the second degree assault charges must be
dismissed with prejudice on remand.


                                               3
No. 79806-5-I/4


impartial based on observation of mannerisms, demeanor, and the like.” State v.

Gonzales, 111 Wn. App. 276, 278, 45 P.3d 205 (2002). We review the court’s

failure to dismiss a biased juror for a manifest abuse of discretion. Gonzales,

111 Wn. App. at 278.

       Actual bias is “the existence of a state of mind on the part of the juror in

reference to the action, or to either party, which satisfies the court that the

challenged person cannot try the issue impartially and without prejudice to the

substantial rights of the party challenging.” RCW 4.44.170(2). However, even if

a juror appears to have formed an opinion, the court need not dismiss the juror

unless the court is “satisfied, from all the circumstances, that the juror cannot

disregard such opinion and try the issue impartially.” RCW 4.44.190 (emphasis

added); State v. Lawler, 194 Wn. App. 275, 281, 374 P.3d 278 (2016).

       Here, Griepsma challenges the seating of five jurors for the first time on

appeal. First, he claims jurors 32 and 34 said that they expected Griepsma to

testify and “that they would hold his failure to testify against him.” This claim

arises from the following interaction during voir dire:

             THE DEFENDANT: . . . Will -- would anyone here be
       disappointed if the Defendant does not present any evidence or
       burden of proof?
             ....
             NUMBER 21: Is he asking that since -- if the Defendant
       doesn’t say anything, that we won’t hold that against him? Is that
       the question?
             THE DEFENDANT: Yes, ma’am.
             NUMBER 21: Thank you.
             THE DEFENDANT: Does anyone expect me to testify?

       Jurors 32 and 34, who were ultimately selected for the jury, raised their

hands to this last question. This exchange is significantly more ambiguous than



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No. 79806-5-I/5


Griepsma contends. Griepsma’s questioning was somewhat confusing, so it is

unclear from the context whether the jurors were saying that they would hold a

failure to testify against him or simply whether they expected him to testify.

Because the court is in the best position to determine whether a juror is biased,

we defer to the court’s assessment of which question the jurors were responding

to and defer to its decision to place jurors 32 and 34 on the jury. Gonzales, 111

Wn. App. at 278.

       Griepsma next challenges jurors 13, 22, and 30 on the basis that they

were biased toward law enforcement. These jurors answered yes to the

question: “[W]ould anybody give more weight to . . . a police officer’s testimony

just because they were a police officer.” They were not asked follow-up

questions.

       “A prospective juror’s expression of preference in favor of police testimony

does not, standing alone, conclusively demonstrate bias.” Gonzales, 111 Wn.

App. at 281. However, if this stated preference rises to a preconceived opinion

or belief about the issues, then actual bias is established. See Gonzales, 111

Wn. App. at 281 (juror’s statement that she would have a “‘very difficult’” time

disbelieving a police officer and was not certain she could apply the presumption

of innocence was clear indicator of actual bias); Irby, 187 Wn. App. at 196 (a

juror who said she was “predisposed to believe” police officers but would try to

decide the case fairly did not demonstrate actual bias, but a juror who said she

“‘would like to say he’s guilty’” because of her predisposition in favor of the State

did demonstrate actual bias.). Here, the jurors’ answers express a mere




                                              5
No. 79806-5-I/6


preference in favor of police testimony. Therefore, Griepsma has not established

actual bias on the part of these jurors.

       Furthermore, the entire context of voir dire supports a determination that

these jurors could be impartial. Juror 13 stated, “I don’t feel I could have any

problem with being biased in this case.” Juror 30 indicated that their brother-in-

law was in law enforcement but that they could decide “based upon the evidence

[they heard] and the law, not outside influences.” Finally, although juror 22

indicated they would give greater weight to a police officer’s testimony, they also

indicated that they had had a negative experience with law enforcement that led

them to believe that police officers “sometimes . . . take their duties a little above

and beyond.” Accordingly, we conclude that the trial court did not abuse its

discretion when it allowed these jurors to sit on the jury. 2

               Sufficiency of the Evidence for Third Degree Assault

       Griepsma contends that the prosecution failed to prove every element of

third degree assault under RCW 9A.36.031(1)(g) as charged in counts 5, 6, 8,

and 9. Specifically, Griepsma contends that the State failed to prove that the

victims in these incidents qualified as law enforcement officers or other

employees of a law enforcement agency. Because the record establishes that



       2 Griepsma disagrees that these statements support a finding of juror
impartiality, contending that the trial court was required to rehabilitate the jurors
by inquiring into their ability to be neutral after they expressed their preference for
police testimony. While we have noted that expressions of bias can be
“neutralized by further questioning,” rehabilitation was not required here because
the jurors did not in fact demonstrate actual bias. Gonzales, 111 Wn. App. at
282. Furthermore, even if they had, the law is clear that in judging juror
impartiality, the court has broad discretion to consider all the circumstances.
Irby, 187 Wn. App. at 193.


                                               6
No. 79806-5-I/7


the victims in these incidents were all corrections officers employed by the Skagit

County Sheriff’s Office, we disagree.

       In order to “‘ensure that the defendant’s due process right in the trial court

was properly observed,’” we review the record to ensure the State provided

sufficient evidence to support a conviction. State v. Berg, 181 Wn.2d 857, 867,

337 P.3d 310 (2014) (quoting State v. Phuong, 174 Wn. App. 494, 502, 299 P.3d

37 (2013)). In doing so, we ask “whether, after viewing the evidence in the light

most favorable to the prosecution, any rational trier of fact could have found the

essential elements of the crime beyond a reasonable doubt.” Jackson v. Virginia,

443 U.S. 307, 319, 99 S. Ct. 2781, 61 L. Ed. 2d 560 (1979). We review issues of

statutory interpretation, such as the elements of a crime, de novo. State v.

Engel, 166 Wn.2d 572, 576, 210 P.3d 1007 (2009). If the plain language of the

statute is “unambiguous, meaning it is subject to only one reasonable

interpretation, our inquiry ends.” State v. K.L.B., 180 Wn.2d 735, 739, 328 P.3d

886 (2014).

       Here, the plain language of the statute is clear. RCW 9A.36.031(1)(g)

defines third degree assault to include assault against “a law enforcement officer

or other employee of a law enforcement agency who was performing his or her

official duties at the time of the assault.” “[L]aw enforcement” means “the

department of people who enforce laws, investigate crimes, and make arrests.”

MERRIAM-W EBSTER’S ONLINE DICTIONARY, https://www.merriam-

webster.com/dictionary/law%20enforcement (last visited May 14, 2021); see also

In re Det. of J.N., 200 Wn. App. 279, 286, 402 P.3d 380 (2017) (“Where the




                                             7
No. 79806-5-I/8


legislature has not defined a term, we may look to dictionary definitions, as well

as the statute’s context, to determine the plain meaning of the term.”). A sheriff’s

office is a law enforcement agency. See RCW 36.28.010(1) (county sheriff

“[s]hall arrest and commit to prison all persons who break the peace, or attempt

to break it, and all persons guilty of public offenses”); Yakima County Deputy

Sheriff’s Ass’n v. Bd. of Comm’rs for Yakima County, 111 Wn.2d 854, 856-57,

765 P.2d 1297 (1989) (citing a different statutory definition of “law enforcement

officer” as including county and deputy sheriffs); State v. Ramos, 149 Wn. App.

266, 271, 202 P.3d 383 (2009) (describing county sheriff’s actions as authorized

by a statute delegating power to “law enforcement agencies”). Therefore,

although corrections officers who are employed by a sheriff’s office may not be

“law enforcement officer[s],” they are nonetheless “employee[s] of a law

enforcement agency.” RCW 9A.36.031(1)(g).

       The State established that the victims in counts 5, 6, 8, and 9 were

employed by the Skagit County Sheriff’s Office. Accordingly, they fall into the

class of victims described by RCW 9A.36.031(1)(g). We therefore conclude that

there is sufficient evidence to support these convictions.

       Griepsma disagrees and contends that we should read the statute

narrowly to exclude corrections officers because to do otherwise would “render

the custodial assault statute largely redundant or superfluous.” While it is true

that we do not “interpret a statute in any way that renders any portion

meaningless or superfluous,” Jongeward v. BNSF R. Co., 174 Wn.2d 586, 601,

278 P.3d 157 (2012), the plain reading of the third degree assault statute does




                                             8
No. 79806-5-I/9


not render the custodial assault statute meaningless or superfluous. The

custodial assault statute punishes the assault of a “staff member or volunteer,

any educational personnel, any personal service provider, or any vendor or agent

thereof” at any corrections institution. RCW 9A.36.100(1). This list includes

many individuals who are not covered by the third degree assault statute,

including volunteers as well as corrections staff members who are employed by

entities other than law enforcement agencies. Therefore, Griepsma’s contention

fails.

                 Failure To Charge Griepsma with Custodial Assault

         Griepsma next contends that for assault against corrections officers, the

State was required to charge him with custodial assault instead of third degree

assault. He contends that the custodial assault statute is a special statute

punishing the same conduct as RCW 9A.36.031(1)(g) and that therefore the

general/special rule of statutory construction applies. We disagree.

         The general/special rule of construction provides that “‘where a special

statute punishes the same conduct which is punished under a general statute,

the special statute applies and the accused can be charged only under that

statute.’” State v. Shriner, 101 Wn.2d 576, 580, 681 P.2d 237 (1984) (quoting

State v. Cann, 92 Wn.2d 193, 197, 595 P.2d 912 (1979)). This rule only applies

where the statutes are concurrent, which means that “the general statute will be

violated in each instance where the special statute has been violated.” Shriner,

101 Wn.2d at 580.

         The general/special rule does not apply here because the statutes are not




                                              9
No. 79806-5-I/10


concurrent. As noted above, the custodial assault statute punishes the assault of

a “staff member or volunteer, any educational personnel, any personal service

provider, or any vendor or agent thereof” at any corrections institution.

RCW 9A.36.100(1). By contrast, the third degree assault provision at issue here

punishes assault against “a law enforcement officer or other employee of a law

enforcement agency who was performing his or her official duties at the time of

the assault.” RCW 9A.36.031(1)(g). Griepsma’s argument fails because the

third degree assault statute will not be violated each time the custodial assault

statute is violated. For instance, assault against any volunteer, vendor, service

provider, or staff member of a corrections institution who is not employed by a

law enforcement agency would not trigger the third degree assault provision.

Therefore, the statutes are not concurrent and the general/special rule does not

apply. 3

       Griepsma disagrees and contends that the court should address whether

the statutes overlap in the specific facts at issue here, rather than whether the

statutes are concurrent under any set of facts. But this is not the test.

Griepsma’s reliance on our decision in State v. Haley, 39 Wn. App. 164, 692

P.2d 858 (1984), is misplaced. There, we stated that “where the facts support



       3 This conclusion is consistent with our decision in State v. Lavery, No.
50196-1-II, slip op. at 4 (Wash. Ct. App. July 31, 2018) (unpublished),
https://www.courts.wa.gov/opinions/pdf/D2%2050196-1-
II%20Unpublished%20Opinion.pdf (“[C]ustodial assault and assault in the third
degree are not concurrent.”). We also explained in that case that because the
two statutes set equivalent punishments, the choice to charge one or the other
does not implicate equal protection concerns. Lavery, No. 50196-1-II, slip op. at
4. Griepsma does not raise equal protection concerns here, so we do not
address this issue.


                                            10
No. 79806-5-I/11


either a manslaughter or negligent homicide charge, it is the prosecutor’s

duty . . . to charge the more specific negligent homicide.” Haley, 39 Wn. App. at

169. This language does not imply that statutes can be concurrent solely based

on the facts in one specific scenario but instead acknowledges that facts will not

always support a charge under the more specific statute even where they

support a more general charge. The law is clear that the test for whether

statutes are concurrent is whether “the general statute will be violated in each

instance where the special statute has been violated.” Shriner, 101 Wn.2d at

580 (emphasis added).

       Because the general/special rule does not apply, we affirm Griepsma’s

third degree assault convictions.

                   Calculation of Offender Score for Sentencing

       Griepsma next contends that the State failed to prove his criminal history

by a preponderance of the evidence and that therefore we should remand for

resentencing. He points to the State’s failure to produce a judgment and

sentence for an alleged 1994 burglary and the State’s production of only an

uncertified judgment and sentence for four prior offenses in 2017. We agree that

the State failed to prove that the 1994 burglary should be included in Griepsma’s

offender score and therefore remand for resentencing.

       We review a sentencing court’s calculation of an offender score de novo.

State v. Moeurn, 170 Wn.2d 169, 172, 240 P.3d 1158 (2010). However, the

existence of a prior conviction is a question of fact, which we review for

substantial evidence. In re Pers. Restraint of Adolph, 170 Wn.2d 556, 566, 243




                                            11
No. 79806-5-I/12


P.3d 540 (2010); Interstate Prod. Credit Ass’n v. MacHugh, 90 Wn. App. 650,

654, 953 P.2d 812 (1998).

       At sentencing, the State has the burden to prove prior convictions by a

preponderance of the evidence. Adolph, 170 Wn.2d at 566. This includes

proving any misdemeanor convictions that prevent other convictions from

washing out. State v. Cross, 156 Wn. App. 568, 586-87, 234 P.3d 288 (2010),

modified on remand, 166 Wn. App. 320, 271 P.3d 264 (2012). The rules of

evidence do not apply to a sentencing hearing. State v. Strauss, 119 Wn.2d 401,

418, 832 P.2d 78 (1992); ER 1101(c)(3). “‘The best evidence of a prior

conviction is a certified copy of the judgment.’” Adolph, 170 Wn.2d at 566
(quoting State v. Ford, 137 Wn.2d 472, 480, 973 P.2d 452 (1999)). However, the

State’s burden “may be satisfied by evidence that bears some ‘minimum indicia

of reliability’” including “‘other comparable documents of record or transcripts of

prior proceedings.’” Adolph, 170 Wn.2d at 568-69 (quoting Ford, 137 Wn.2d at

480-81). “[A] certified copy of the judgment is not required to prove the existence

of a conviction.” Adolph, 170 Wn.2d at 568. For instance, our Supreme Court

has held that the State established criminal history through a Department of

Licensing driving record abstract and a Judicial Information System printout.

Adolph, 170 Wn.2d at 569-70. Additionally, we have noted in the context of

proving out-of-state criminal history that where the State provided minute orders,

guilty pleas, charging documents, and an abstract of judgment, it was immaterial

whether the documents were certified. State v. Winings, 126 Wn. App. 75, 92,

107 P.3d 141 (2005).




                                            12
No. 79806-5-I/13


       We first conclude that substantial evidence supports the trial court’s

finding that Griepsma’s criminal history included the four 2017 convictions.

Although the judgment and sentence presented by the State is not certified, it

exhibits at least “minimum indicia of reliability.” Ford, 137 Wn.2d at 481. The

judgment and sentence bears the stamp of the superior court clerk and lists

identifying information for Griepsma, including his date of birth and ID numbers.

Furthermore, because it is from Skagit County, and not an out-of-state judgment,

the Skagit County Superior Court was well positioned to assess its reliability.

Accordingly, we decline to substitute our judgment for the trial court’s and

conclude that substantial evidence supports the court’s findings with respect to

these charges.

       Next, we accept the State’s concession that it failed to establish the 1994

burglary. The State’s only evidence supporting the burglary charge was the 2017

judgment and sentence, which listed the burglary in Griepsma’s criminal history.

Even if this were sufficient evidence of the burglary itself, the 1994 burglary

would wash out under RCW 9.94A.525(2)(b) unless Griepsma committed a crime

in the interim. Because the State provided no evidence of any intervening crime,

we conclude that the court erred by including this charge in Griepsma’s criminal

history. See Cross, 156 Wn. App. at 586-87 (stating that the State can meet its

burden to show a felony did not wash out with evidence of intervening

misdemeanors).

       Finally, we cannot conclude that the inclusion of the burglary in

Griepsma’s criminal history was harmless error. “When the sentencing court




                                             13
No. 79806-5-I/14


incorrectly calculates the standard range . . . remand is the remedy unless the

record clearly indicates the sentencing court would have imposed the same

sentence anyway.” State v. Parker, 132 Wn.2d 182, 189, 937 P.2d 575 (1997).

In this case, Griepsma’s offender score was listed as “9+,” based on the State’s

calculation of his score as 10. Without the burglary conviction, Griepsma’s

offender score is 9, resulting in the same sentencing range. The State

recommended the high end of the sentence range, 60 months, and the court

ordered a midrange sentence of 55 months. Some cases have held that when

the sentencing range remains the same after recalculation of the offender score,

the calculation error is harmless. State v. Priest, 147 Wn. App. 662, 673, 196

P.3d 763 (2008). However, elsewhere, we have held that the error is not

harmless, even if the sentencing range is the same, because the “record does

not clearly indicate that the sentencing court would have imposed the same

sentence” without the erroneous offender score. State v. McCorkle, 88 Wn. App.

485, 499-500, 945 P.2d 736 (1997), aff’d, 137 Wn.2d 490, 973 P.2d 461 (1999).

Because we cannot discern from the record that the court would have imposed

the same sentence given Griepsma’s correct offender score, we remand for

resentencing.

                        Imposition of Community Custody

       DOC in its postsentence petition asserts that the court erred by not

ordering community custody. We agree.

       As an initial matter, Griepsma asserts that DOC lacks standing to bring

this petition because it failed to make reasonable efforts to resolve the issue




                                            14
No. 79806-5-I/15


below. RCW 9.94A.585(7) permits DOC to “petition for a review of a sentence

committing an offender to the custody or jurisdiction” of DOC. The petition must

be filed within 90 days of DOC knowing the terms of the sentence and must

“include a certification by [DOC] that all reasonable efforts to resolve the dispute

at the superior court level have been exhausted.” RCW 9.94A.585(7). If DOC

fails to make these reasonable efforts at the trial court level, it will not have

standing to file its petition. In re Sentence of Hilborn, 63 Wn. App. 102, 106-07,

816 P.2d 1247 (1991). While DOC does not need to formally file a motion, it

must at least inform the court of the perceived errors. In re Sentence of

Chatman, 59 Wn. App. 258, 264, 796 P.2d 755 (1990). For instance, in Hilborn,

DOC mailed a letter to inform the court that the law did not authorize a

defendant’s sentence and then filed its postsentence petition four days later.

Hilborn, 63 Wn. App. at 103-04. Because “the trial court was simply not given a

fair opportunity to analyze DOC’s concerns about the sentence, or to make any

appropriate corrections,” we held that DOC had not made reasonable efforts and

therefore did not have standing to file the petition. Hilborn, 63 Wn. App. at 105-

07.

       In this case, DOC e-mailed the prosecutor to inform him of the sentencing

error on April 10, 2019. The prosecutor replied, agreeing that community

custody had not been imposed, but did not agree to seek an amendment of the

error. DOC then e-mailed the prosecutor as well as the trial court on June 7,

stating that if the sentence was not amended, DOC would file a postsentence

petition. The prosecutor again replied but did not indicate that he would seek to




                                              15
No. 79806-5-I/16


amend the sentence, and the court apparently did not reply. DOC filed its

petition on July 3, 2019. Because DOC gave the State and the court notice and

sufficient time to reply, we hold that DOC made reasonable efforts and

accordingly has standing to file its petition.

       As to the merits, DOC contends that the court erred by failing to impose a

community custody term on Griepsma. We review the sentence for errors of law.

RCW 9.94A.585(7). RCW 9.94A.701(3)(a) requires the court to sentence the

defendant “to community custody for one year when the court sentences the

person to the custody of” DOC for committing a crime against persons. Third

degree assault is a crime against persons, meaning this community custody

requirement applies to Griepsma. Former RCW 9.94A.411(2)(a) (2017).

However, the “term of community custody . . . shall be reduced by the court

whenever an offender’s standard range term of confinement in combination with

the term of community custody exceeds the statutory maximum.”

RCW 9.94A.701(9).

       Griepsma was sentenced to 55 months but had a maximum sentence of

60 months. Therefore, under RCW 9.94A.701(9) the court could only sentence

Griepsma to a combined 60 months of incarceration and community custody.

Accordingly, we “remand to the trial court to either amend the community custody

term or resentence” the defendant in accordance with RCW 9.94A.701(9). State

v. Boyd, 174 Wn.2d 470, 473, 275 P.3d 321 (2012).

                    Statement of Additional Grounds for Review

       In his SAG, Griepsma raises several additional issues. None have merit.




                                                 16
No. 79806-5-I/17


       A defendant may file a SAG “to identify and discuss those matters related

to the decision under review that the defendant believes have not been

adequately addressed by the brief filed by the defendant’s counsel.” RAP

10.10(a). “[T]he appellate court will not consider a defendant’s statement of

additional grounds for review if it does not inform the court of the nature and

occurrence of alleged errors.” RAP 10.10(c). Furthermore, we are “not obligated

to search the record in support of claims made in a defendant’s statement of

additional grounds for review.” RAP 10.10(c).

       Griepsma contends that he was denied effective access to discovery and

legal research while incarcerated. He also claims that he was denied effective

assistance of counsel by his standby counsel and denied confidentiality with his

investigator. He raised these issues before the trial court, who concluded that he

had meaningful access to legal resources. Griepsma fails to inform the court of

the error in the court’s decision on these issues. RAP 10.10(c); see also State v.

Blockman, 198 Wn. App. 34, 43, 392 P.3d 1094 (2017) (“The record reveals that

the trial court already addressed [the issues raised in the SAG] at length.

Blockman gives us no reason to revisit the trial court’s resolution of these

issues.”), aff’d, 190 Wn.2d 651, 416 P.3d 1194 (2018). Furthermore, the record

indicates that Griepsma had his standby counsel dismissed and does not

establish that Griepsma’s communications with his investigator would be subject

to attorney-client privilege. See Morgan v. City of Federal Way, 166 Wn.2d 747,

755, 213 P.3d 596 (2009) (evidence did not support contention that investigator’s

report was protected by attorney-client privilege because investigator was not




                                            17
No. 79806-5-I/18


hired to provide legal advice). 4

       We affirm Griepsma’s convictions but remand for resentencing with a

recalculated offender score and to impose community custody in accordance

with RCW 9.94A.701.




WE CONCUR:




       4 Griepsma raises several other issues that he argued below and the court
addressed, such as the denial of a motion to dismiss, prosecutorial retaliation,
potential juror prejudice, and the denial of a fair trial. Griepsma does not point to
any errors which would give us “reason to revisit the trial court’s resolution of
these issues.” State v. Blockman, 198 Wn. App. at 43. Griepsma also raises
issues which do not affect the validity of his convictions or sentence, such as
wrongful imprisonment and judicial misconduct in allowing him to be transferred
to a prison, but which could perhaps be raised in a personal restraint petition.


                                            18
